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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                 CASE NO. 22-20104-CR-MARTINEZ/BECERRA{s){s){s){s){s)
                                  18 U.S.C. § 2339A(a)
                                  18 U.S.C. § 956(a)(l)               MP
                                  18 u.s.c. § 371
                                  18 u.s.c. § 960              Feb 13, 2024
                                  50 u.s.c. § 4819
                                  18 u.s.c. § 554
                                  13 u.s.c. § 305
                                  18 u.s.c. § 2
                                                                        MIAMI


                                  18 U.S.C. § 981(a)(l)(C)
                                  18 U.S.C. § 981(a)(l)(G)

   UNITED STATES OF AMERICA

   v.
   ARCANGEL PRETEL ORTIZ,
        a/k/a "Colonel Gabriel,"
   ANTONIO INTRIAGO,
        a/k/a "The General,"
   WALTER VEINTEMILLA,
   CHRISTIAN SANON,
        a/k/a "Kumbe,"
        a/k/a "Pumba,"
        a/k/a "Bubba," and
   JAMES SOLAGES,
        a/k/a "Yacov,"
        a/k/a "Junior,"

                                  Defendants.


                             FIFTH SUPERSEDING INDICTMENT


   The Grand Jury charges that:
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                                            COUNTl
                     Conspiracy to Provide Material Support and Resources
                 to Carry Out a Violation of Section 956(a)(1 ), Resulting in Death
                                      (18 U.S.C. § 2339A(a))

          Beginning in or around February of 2021, and continuing through on or about July 7, 2021,

   in the Southern District of Florida and in a place outside the United States, including Haiti and

   elsewhere, the defendants,

                                    ARCANGEL PRETEL ORTIZ,
                                      a/k/a "Colonel Gabriel,"
                                      ANTONIO INTRIAGO,
                                        a/k/a "The General,"
                                     WALTER VEINTEMILLA,
                                       CHRISTIAN SANON,
                                           a/k/a "Kumbe,"
                                           a/k/a "Pumba,"
                                         a/k/a "Bubba," and
                                        JAMES SOLAGES,
                                            a/k/a "Yacov,"
                                           a/k/a "Junior,"

   did knowingly combine, conspire, confederate, and agree with each other and other persons known

   and unknown to the Grand Jury, to provide material support and resources, as defined in Title 18,

   United States Code, Section 2339A(b), that is, personnel, including themselves, and services,

   knowing and intending that they be used in preparation for, and in carrying out, a violation of Title

   18, United States Code, Section 956(a)( l ), that is, a conspiracy to kill and kidnap a person outside

   of the United States.

          On July 7, 2021, the death of the President of Haiti, Jovenel Moise, resulted.

                   All in violation of Title 18, United States Code, Section 2339A(a).




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                                          COUNT2
     Providing Material Support and Resources to Carry Out a Violation Resulting in Death
                                    (18 U.S.C. §2339A(a))

          Beginning in or around February of 2021, and continuing through on or about July 7, 2021,

   in the Southern District of Florida and in a place outside the United States, including Haiti and

   elsewhere, the defendants,

                                   ARCANGEL PRETEL ORTIZ,
                                     a/k/a "Colonel Gabriel,"
                                     ANTONIO INTRIAGO,
                                       a/k/a "The General,"
                                    WALTER VEINTEMILLA,
                                      CHRISTIAN SANON,.
                                          a/k/a "Kombe,"
                                          a/k/a "Pumba,"
                                        a/k/a "Bubba," and
                                       JAMES SOLAGES,
                                          a/k/a "Yacov,"
                                          a/k/a "Junior,"

   did provide material support and resources, as defined in Title 18, United States Code, Section

   2339A(b), that is, personnel, including themselves, and services, knowing and intending that they

   be used in preparation for, and in carrying out, a violation of Title 18, United States Code, Section

   956(a)(l), that is, a conspiracy to kill and kidnap a person outside of the United States.

          On July 7, 2021, the death of the President of Haiti, Jovenel Moise, resulted.

                   All in violation of Title 18, United States Code, Sections 2339A(a) and 2.




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                                            COUNT3
                Conspiracy to Kill and Kidnap a Person Outside the United States
                                      (18 U.S.C. § 956(a)(l))

          Beginning in or around February of 2021, and continuing through on or about July 7, 2021,

   in the Southern District of Florida and in a place outside the United States, including Haiti and

   elsewhere, the defendants,

                                   ARCANGEL PRETEL ORTIZ,
                                     a/k/a "Colonel Gabriel,"
                                     ANTONIO INTRIAGO,
                                       a/k/a "The General,"
                                    WALTER VEINTEMILLA,
                                      CHRISTIAN SANON,
                                          a/k/a "Kumbe,"
                                          a/k/a "Pumba,"
                                        a/k/a "Bubba," and
                                       JAMES SOLAGES,
                                           a/k/a "Yacov,"
                                          a/k/a "Junior,"

   did knowingly and intentionally combine, conspire, confederate, and agree with each other and

   other persons known and unknown to the Grand Jury, at least one of whom having been within the

   jurisdiction of the United States, to commit at a place outside the United States, acts that would

   constitute murder and kidnapping if these crimes were committed in the special maritime and

   territorial jurisdiction of the United States, that is, the murder and kidnapping of the President of

   Haiti, Jovenel Moise, and one or more conspirators did commit one or more acts within the

   jurisdiction of the United States, to effect the purpose and object of the conspiracy, in violation of

   Title 18, United States Code, Section 956(a)(l).




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                                          COUNT4
                     Conspiracy to Commit Offenses Against the United States
                                       (18 u.s.c. § 371)

          Beginning in or around February of 2021, and continuing through on or about July 31,

   2021, in the Southern District of Florida and in a place outside the United States, including Haiti

   and elsewhere, the defendants,

                                    ARCANGEL PRETEL ORTIZ,
                                      a/k/� "Colonel Gabriel,"
                                      ANTONIO INTRIAGO,
                                        a/k/a "The General,"
                                     WALTER VEINTEMILLA,
                                       CHRISTIAN SANON,
                                           a/k/a "Kumbe,"
                                           a/k/a "Pumba,"
                                         a/k/a "Bubba," and
                                        JAMES SOLAGES,
                                            a/k/a "Yacov,"
                                           a/k/a "Junior,"

   did knowingly and willfully combine, conspire, confederate, and agree with each other and with

   others known and unknown to the Grand Jury, to commit any offense against the United States,

   that is, to knowingly begin and set on foot, and provide and prepare a means for, and furnish the

   money for, and take part in, a military expedition and enterprise to be carried on from the United

   States against the territory and dominion of a foreign state, namely the country of Haiti, with which

   the United States is at peace, in violation of Title 18, United States Code, Section 960.

                                             OVERT ACTS

          In furtherance of the conspiracy and to achieve the objects thereof, the defendants and

   others committed and caused to be committed, in the Southern District of Florida and elsewhere,

   at least one of the following overt acts, among others:

          1.      On or about April 4, 2021, JOSEPH JOEL JOHN travelled from Haiti to the

   Southern District of Florida to meet with coconspirators, including ARCANGEL PRETEL


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   ORTIZ, ANTONIO INTRIAGO, WALTER VEINTEMILLA, JAMES SOLAGES,

   CHRISTIAN SANON, and others.

           2.      On or about April 30, 2021, Worldwide Capital Lending Group ("Worldwide"),

   whose principal was WALTER VEINTEMILLA, provided CTU with a $175,000 line of credit

   to finance CTU's support of CHRISTIAN SANON, which transaction was executed by

   ANTONIO INTRIAGO and VEINTEMILLA, with ARCANGEL PRETEL ORTIZ signing

   as a witness.

           3.      On or about May 17, 2021, CHRISTIAN SANON signed a "Consultant

   Agreement" with CTU. Pursuant to the agreement, CTU would provide SANON with, among

   other things, ballistic vests for his "private military" forces in Haiti.

           4.      On or about May 21, 2021, CHRISTIAN SANON and ANTONIO INTRIAGO

   transported a small number of the ballistic vests aboard a private flight from the Southern District

   of Florida to Haiti.

           5.      On or about June 2, 2021, WALTER VEINTEMILLA, as principal of

   Worldwide, paid $9,145.00 to fund the travel of approximately 18 Colombian nationals with

   military training to Haiti.

           6.      On or about June 3, 2021, WALTER VEINTEMILLA, as principal of

   Worldwide, wired $15,000 to JAMES SOLAGES to fund the co-conspirators' acquisition of

   ammunition.

           7.      On or about June 10, 2021, ANTONIO INTRIAGO, CHRISTIAN SANON, and

   FREDERICK JOSEPH BERGMANN, Jr. caused a shipping company to export CTU's ballistic

   vests from the Southern District of Florida to Haiti.




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          8.      On or about June 28, 2021, JAMES SOLAGES flew from Haiti to the Southern

   District of Florida to deliver a purported Haitian immunity agreement to ARCANGEL PRETEL

   ORTIZ, ANTONIO INTRIAGO, and WALTER VEINTEMILLA.

          9.      On or about July 1, 2021, JAMES SOLAGES returned to Haiti to participate in

   the operation against President Moise.

          10.     On or about July 7, 2021, JAMES SOLAGES, JOSEPH VINCENT, GERMAN

   ALEJANDRO RIVERA GARCIA, MARIO ANTONIO PALACIOS PALA CIOS, and other

   conspirators travelled in a convoy of vehicles to President Moise's residence to conduct the

   operation against President Moise.

                     All in violation of Title 18, United States Code, Section 371.

                                             COUNTS
                                 Expedition Against Friendly Nation
                                          (18 U .s.c. § 960)

          Beginning in or around February of 2021, and continuing through on or about July 31,

   2021, in the Southern District of Florida and in a place outside the United States, including Haiti

   and elsewhere, the defendants,

                                    ARCANGEL PRETEL ORTIZ,
                                      a/k/a "Colonel Gabriel,"
                                      ANTONIO INTRIAGO,
                                        a/k/a "The General,"
                                     WALTER VEINTEMILLA,
                                       CHRISTIAN SANON,
                                           a/k/a "Kumbe,"
                                           a/k/a "Pumba,"
                                         a/k/a "Bubba," and
                                        JAMES SOLAGES,
                                            a/k/a "Yacov,"
                                           a/k/a "Junior,"

   knowingly began and set on foot, and provided and prepared a means for, and furnished the money

   for, and took part in, a military expedition and enterprise to be carried on from the United States


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   against the territory and dominion of a foreign state, namely the country of Haiti, with which the

   United States is at peace, in violation of Title 18, United States Code, Sections 960 and 2.

                                            COUNT6
                       Conspiracy to Commit Offenses Against the United States
                                         (18 u.s.c. § 371)

              Beginning in or around February of 2021, and continuing through on or about June 10,

   2021, in the Southern District of Florida and in a place outside the United States, including Haiti

   and elsewhere, the defendants,

                                       ANTONIO INTRIAGO,
                                       a/k/a "The General," and
                                        CHRISTIAN SANON,
                                            a/k/a "Kumbe,"
                                            a/k/a "Pumba,"
                                            a/k/a "Bubba,"

   did knowingly and willfully combine, conspire, confederate, and agree with each other and with

   others known and unknown to the Grand Jury, to commit any offense against the United States,

   that is:

              (1)    fraudulently and knowingly export and send from the United States to Haiti

   merchandise, articles; and objects, that is, ballistic vests, contrary to laws and regulations of the

   United States, that is, Title 13, United States Code, Section 305 and Title 15, Code of Federal

   Regulations, Part 30, and receive, conceal, buy, sell, and facilitate the transportation, concealment,

   and sale of such merchandise, articles, and objects, prior to exportation, knowing the same to be

   intended for exportation contrary to such laws and regulations of the United States, in violation of

   Title 18, United States Code, Section 554; and

              (2)    knowingly fail to file export information and knowingly submit false and

   misleading export information through the Automated Export System in connection with the

   export of the ballistic vests, in violation of Title 13, United States Code, Section 305.


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                                              OVERT ACTS

           In furtherance of the conspiracy and to achieve the objects thereof, the defendants and

   others committed and caused to be committed, in the Southern District of Florida and elsewhere,

   at least one of the following overt acts, among others:

           1.      On or about May 17, 2021, CHRISTIAN SANON signed a "Consultant

   Agreement" with CTU. Pursuant to the agreement, CTU would provide SANON with, among

   other things, ballistic vests for his "private military" forces in Haiti.

           2.      On or about May 21, 2021, CHRISTIAN SANON and ANTONIO INTRIAGO

   transported a small number of the ballistic vests aboard a private flight from Florida to Haiti.

             3.    On or about June 8, 2021, FREDERICK JOSEPH BERGMANN, Jr. and

   ANTONIO INTRIAGO exchanged messages regarding shipping the ballistic vests from Florida

   to Haiti, during which INTRIAGO advised BERGMANN that BERGMANN could "send the

   vest [sic] as paintball protection vest [sic]," and BERGMANN responded: "I don't think they'll

   have a problem having my research company ship x-ray protective vests."

             4.    On or about June 8, 2021, FREDERICK JOSEPH BERGMANN, Jr. arranged for

   a shipping company in Florida to export the ballistic vests to Haiti. BERGMANN falsely

   represented to the shipping company that the goods to be shipped were "medical x-ray vests" with

   a total value of approximately $1,000.

             5.    On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. signed a

   commercial invoice, dated June 10, 2021, for the export of the ballistic vests to Haiti, which falsely

   described the goods being shipped as "medical x-ray vests" with a total value of approximately

   $1,000.




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           6.      On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. signed a

    shipper's letter of instruction, dated June 10, 2021, for the export of the ballistic vests to Haiti,

    which falsely described the goods being shipped as "medical x-ray vests."

           7.      On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. sent to

    CHRISTIAN SANON the commercial invoice that falsely described the ballistic vests as

    "medical x-ray vests."

           8.      On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. sent to

    CHRISTIAN SANON the shipper's letter of instruction that falsely described the ballistic vests

    as "medical x-ray vests."

           9.      On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. sent a message

    to CHRISTIAN SANON and ANTONIO INTRIAGO, asking INTRIAGO to deliver the

    ballistic vests and copies of the commercial invoice to the shipping company the following

    mormng.

           10.     On or about June 9, 2021, FREDERICK JOSEPH BERGMANN, Jr. sent a message

    to CHRISTIAN SANON and ANTONIO INTRIAGO, informing SANON that the shipment

    would arrive in Haiti the following afternoon and ensuring that SANON would manage the

    coordination of the ultimate delivery of the ballistic vests to the Colombian nationals providing

    security to SANON.

           11.     On or about June 9, 2021, CHRISTIAN SANON sent a message to FREDERICK

    JOSEPH BERGMANN, Jr. confirming the plans to receive and deliver the ballistic vests in Haiti.

            12.    On or about June 10, 2021, ANTONIO INTRIAGO delivered the ballistic vests

    to the shipping company in Florida.
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           13.     On or about June. 10, 2021, CHRISTIAN SANON, FREDERICK JOSEPH

    BERGMANN, Jr., and their co-conspirators caused the shipping company to export the ballistic

    vests from the Southern District of Florida to Haiti.

           14.     On or about June 10, 2021, CHRISTIAN SANON provided the shipping

    paperwork that falsely described the ballistic vests as "medical x-ray vests" to the individual in

    Haiti handling the Haitian customs process.

           15.     On or about June 10, 2021, CHRISTIAN SANON coordinated the delivery of the

    ballistic vests to the Colombian nationals in Haiti.

                       All in violation of Title 18, United States Code, Section 371.

                                             COUNT7
                   Export of Goods in Violation of the Export Control Reform Act
                                         (50 u.s.c. § 4819)

           On or about June 10, 2021, in the Southern District of Florida and elsewhere, including

    Haiti, the defendant,

                                         ANTONIO INTRIAGO,
                                          a/k/a "The General,"

    did knowingly and willfully export and cause the export of items identified on the Commerce

    Control List, that is, ballistic vests, from the United States to Haiti, without first having obtained

    the required license from the United States Department of Commerce, and did knowingly and

    willfully transfer an item to be exported, that is, ballistic vests, with knowledge that a violation of

    the Export Administration Regulations was about to occur, in violation of Title 50, United States

    Code, Section 4819(a)(2), Title 15, Code of Federal Regulations, Section 764.2, and Title 18,

    United States Code, Section 2, in violation of Title 50, United States Code, Sections 4819 and 2.




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                                             COUNTS
                                Smuggling Goods from the United States
                                          (18 u.s.c. § 554)

           On or about June 10, 2021, in Miami-Dade County, in the Southern District of Florida,

    Haiti and elsewhere, the defendants,

                                        ANTONIO INTRIAGO,
                                        a/k/a "The General," and
                                         CHRISTIAN SANON,
                                             a/k/a "Kombe,"
                                             a/k/a "Pumba,"
                                             a/k/a "Bubba,"

    fraudulently and knowingly exported and sent from the United States to a place outside thereof,

    that is, Haiti, any merchandise, articles, and objects, that is, ballistic vests, contrary to laws and

    regulations of the United States, that is, Title 13, United States Code, Section 305 and Title 15,

    Code of Federal Regulations, Part 30, and received, concealed, bought, sold, and facilitated the

    transportation, concealment, and sale of such merchandise, articles, and objects, prior to

    exportation, knowing the same to be intended for exportation, contrary to any law and regulation

    of the United States, in violation of Title 18, United States Code, Sections 554 and 2.

                                              COUNT9
                          Submitting False or Misleading Export Information
                                           (13 u.s.c. § 305)

           On or about June 10, 2021, in Miami-Dade County, in the Southern District of Florida,

    Haiti and elsewhere, the defendants,

                                         ANTONIO INTRIAGO,
                                         a/k/a "The General," and
                                          CHRISTIAN SANON,
                                              a/k/a "Kombe,"
                                              a/k/a "Pumba,"
                                              a/k/a "Bubba,"




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   knowingly failed to file export information and knowingly submitted false and misleading export

    information through the Automated Export System in connection with the export of ballistic vests

   from the United States to Haiti, in violation of Title 13, United States Code, Section 305, Title 13,

    Code of Federal Regulations, Section 30.71, and Title 18, United States Code, Section 2.

                                        FORFEITURE ALLEGATIONS

           1.        The allegations of this Fifth Superseding Indictment are hereby re-alleged and by

   this reference fully incorporated herein for the purpose of alleging forfeiture to the United States

    of America of certain property in which the defendants, ARCANGEL PRETEL ORTIZ, a/k/a

    "Colonel       Gabriel,"   ANTONIO         INTRIAGO,        a/k/a     "The   General,"     WALTER

   VEINTEMILLA, CHRISTIAN SANON, a/k/a "Kumbe," a/k/a "Pumba," a/k/a "Bubba,"

    and JAMES SOLAGES, a/k/a "Yacov," a/k/a "Junior," have an interest.

                     Upon conviction of a violation of Title 18, United States Code, Sections 2339A(a)

    or 956(a)(l) as alleged in this Fifth Superseding Indictment in Counts 1, 2, and 3, the defendants

    shall forfeit to the United States all assets, foreign or domestic:

           (i)       of any individual, entity, or organization engaged in planning or perpetrating any

                     Federal crime of terrorism (as defined in section 2332b(g)(5)) against the United

                     States, citizens or residents of the United States, or their property, and all assets,

                     foreign or domestic, affording any person a source of influence over any such entity

                     or organization;

            (ii)     acquired or maintained by any person with the intent and for the purpose of

                     supporting, planning, conducting, or concealing any Federal crime of terrorism (as

                     defined in section 2332b(g)(5)) against the United States, citizens or residents of

                     the United States, or their property;



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           (iii)   derived from, involved in, or used or intended to be used to commit any Federal

                   crime of terrorism (as defined in section 2332b(g)(5)) against the United States,

                   citizens or residents of the United States, or their property; or

           (iv)    of any individual, entity, or organization engaged in planning or perpetrating any

                   act of international terrorism (as defined in section 23 31) against any international

                   organization (as defined in section 209 of the State Department Basic Authorities

                   Act of 1956 (22 U.S.C. § 4309(b)) or against any foreign Government,

    pursuant to Title 18 United States Code, Section 981(a)(l)(G).

           4.      Upon conviction of a violation of, or a conspiracy to violate, Title 18, United States

    Code, Sections 2339A(a), 956(a)(l), or 554, as alleged in this Fifth Superseding Indictment in

    Counts 1, 2, 3, 7, and 8, the defendant shall forfeit to the United States any property, real or

    personal, which constitutes or is derived from proceeds traceable to such offense, pursuant to Title

    18, United States Code, Section 981(a)(l)(C).

           5.      Upon conviction of a violation of Title 50, United States Code, Section 4819, as

    alleged in this Fifth Superseding Indictment in Count 6, the defendant shall forfeit to the United

    States any property:

           (i)     used or intended to be used, in any manner, to commit or facilitate the offense;

           (ii)    constituting or traceable to the gross proceeds taken, obtained, or retained, in

                   connection with or as a result of the offense; or

           (iii)    constituting an item or technology that is exported or intended to be exported in

                   violation of Title 50, Chapter 58, Subchapter I,

     pursuant to Title 50, United States Code, Section 4819(d).




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            6.      Upon conviction of a violation of, or conspiracy to violate, Title 13, United States

    Code, Section 305, as alleged in this Fifth Superseding Indictment in Counts 7 and 9, the defendant

    shall forfeit to the United States:

            (i)     any of that person's interest in, security of, claim against, or property or contractual

                    rights of any kind in the goods or tangible items that were the subject of the offense;

            (ii)    any of that person's interest in, security of, claim against, or property or contractual

                    rights of any kind in tangible property that was used in the export or attempt to

                    export that was the subject of the offense; and

            (iii)   any of that person's property constituting, or derived from, any proceeds obtained

                    directly or indirectly as a result of the offense,

    pursuant to Title 13, United States Code, Section 305(a)(3).

            7.      The property subject to forfeiture as a result of the alleged offenses includes, but is

    not limited to, the following:

            (i)     Real property located at 3150 Islewood Avenue, Weston, Florida 33332.

            8.      If any of the property described above, as a result of any act or omission of the

    defendant:

            (i)     cannot be located upon the exercise of due diligence;

            (ii)    has been transferred or sold to, or deposited with, a third party;

            (iii)   has been placed beyond the jurisdiction of the court;

            (iv)    has been substantially diminished in value; or

            (v)     has been commingled with other property which cannot be divided without

                    difficulty,




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    the United States shall be entitled to the forfeiture of substitute property under the provisions of

    Title 21, United States Code, Section 853(p).

           All pursuant to Title 18, United States Code, Sections 981(a)(l)(C), 981(a)(l)(G), Title 50,

    United States Code, Section 4819, and/or Title 13, United States Code, Section 305(a)(3), and the

    procedures set forth in Title 21, United States Code, Section 853, as incorporated by Title 28,

    United States Code, Section 2461(c).



                                                         A TRUE BILL



                                                         FOREPERSON



    MARKENZY LAPOINTE




    ANDREA G
    ASSISTAN


  --    :::;2- l C:-2
   MONICA K. CASTRO
   ASSISTANT UNITED STATES ATTORNEY




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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                        CASE NO.: 22-20104-CR-JEM(s)(s)(s)(s)(s)

v.
                                                                CERTIFICATE OF TRIAL ATTORNEY*
ARCANGEL PRETEL ORTIZ, et al.,
--------------I                                                 Superseding Case Information:
                   Defendants.
Court Division (select one)                                     New Defendant(s) (Yes or No) ---
                                                                                             No
   @ Miami        CI Key West                □ FTP              Number ofNew Defendants _o_
      FTL □          WPB   □                                    Total number ofNew Counts 0

I do hereby certify that:
     1.       I have carefully considered the allegations of the indictment, the number of defendants, the number of probable
              witnesses and the legal complexities of the Indictment/Information attached hereto.
     2.       I am aware that the information supplied on this statement will be relied upon by the Judges of this Court in setting
              their calendars and scheduling criminal trials under the mandate of the Speedy Trial Act, Title 28 U.S.C. §3161.

     3.       Interpreter: (Yes or No) _Y_es__
              List language and/or dialect: Creole & Spanish
     4.       This case will take�days for the parties to try.

     5.       Please check appropriate category and type ofoffense listed below:
              (Check only one)                          (Check only one)
              I     □ 0 to 5 days                   CI Petty
              II    □ 6 to 10 days                  □  Minor
              III   1:111 to 20 days                □  Misdemeanor
              IV    !Zt21 to 60 days                @ Felony
              V     □  61 days and over •

     6.       Has this case been previously filed in this District Court? (Yes or No) ---         Yes
              Ifyes, Judge Martinez                          Case No. 22-20104-CR-MARTINEZ(s)(s)(s)(s)
     7.       Has a complaint been filed in this matter? (Yes or No) ---   Yes
              Ifyes, Magistrate Case No. 21mj4265: 22mi2070; 22mj2251; 22mi4161; 23mj2178; 23mj2256; 23mi2257
     8.       Does this case relate to a previously filed matter in this District Court? (Yes or No) No
              Ifyes, Judge ___________Case No. _________________
     9.       Defendant(s) in federal custody as of1/31/23 Solages and Sanon; 2/14/23 Ortiz, Intriago, Veintemilla
     10.
     11.
              Defendant(s) in state custody as of     -----------------
              Rule 20 from the _____ District of ________
     12.      Is this a potential death penalty case? (Yes or No) ---
                                                                    No
     13.      Does this case originate from a matter pending in the Northern Region ofthe U.S. Attorney's Office

     14.
              prior to August 8, 2014 (Mag. Judge Shaniek Maynard? (Yes or No) No         ---
              Does this case originate from a matter pending in the Central Region ofthe U.S. Attorney's Office
              prior to October 3, 2019 (Mag. Judge Jared Strauss? (Yes or No)No         ---
     15.      Does this matter involve the participation ofor consultation with now Magistrate Judge Eduardo I.
              Sanchez during his tenure at the U.S. Attorney's Office, which con lu                   on January 22, 2023? No

                                                                 By:
                                                                           ANDRE
                                                                                              tates Attorney
                                                                                              A5502556
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                             PENALTY SHEET

      Defendant's Name: Arcangel Prete! Ortiz

      Case No:    22-20104-CR-JEM(s)(s)(s)(s)(s)

      Count#: 1

      Conspiracy to Provide Material Support or Resources to Cany out a Violation of Section 956,
      Resulting in Death

      Title 18 United States Code Section 2339A

      * Max. Term oflmprisonment: Life Imprisonment
      * Mandatory Min. Term oflmprisonment (if applicable): N/A
      * Max. Supervised Release: Life
      * Max. Fine: $250,000

      Count#: 2

      Providing Material Suppo1t or Resources to Cany out a Violation of Section 956, Resulting in
      Death

      Title 18, United States Code, Section 2339A(a)

      *Max.Term of Imprisonment: Life Imprisonment
      * Mandatory Min.Term oflmprisonment (if applicable): N/A
      * Max. Supervised Release: Life
      *Max. Fine: $250,000

      Count#: 3

      Conspiracy to Kill or Kidnap a person outside the United States

      Title 18, United States Code, Section 956(a)(l)

      *Max.Term of Imprisonment: Life Imprisonment
      * Mandatory Min. Term oflmprisonment (if applicable): N/A
      * Max. Supervised Release: Life
      * Max. Fine: $250,000



        *Refers only to possible term of incarceration, supervised release and fines. It does not include
             restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 552 Entered on FLSD Docket 02/14/2024 Page 19 of 29




      Defendant's Name: Arcangel Prete} Ortiz

      Case No:    22-20104-CR-JEM(s)(s)(s)(s)(s)

      Count#: 4

      Conspiracy to Commit Offenses Against the United States



                                                                                                            I
      Title 18, United States Code, Section 371

      *Max.Term of Imprisonment: 5 Years
      * Mandatory Min. Term oflmprisonment (if applicable): N/A
      *Max. Supervised Release: 3 years
      * Max. Fine: $250,000

      Count#: 5

      Expedition Agamst Friendly Nation

      Title 18 United States Code Section 960

      *Max.Term of Imprisonment: 3 Years
      *Mandatory Min. Term of Imprisonment (if applicable): N/A
      *Max. Supervised Release: 1 Year
      * Max. Fine: $250,000




        *Refers only to possible term of incarceration, supervised release and fines. It does not include
              restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 552 Entered on FLSD Docket 02/14/2024 Page 20 of 29




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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                              PENALTY SHEET

      Defendant's Name: -'An
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                                       =tri

      Case No:     22-20104-CR-JEM(s)(s)(s)(s)(s)
                                                                                                             I
      Count#: 1

      Co nspiracy t o Provide Material Support o r Resources t o Can:y o ut a Violation of Section 956,      I
      Resulting in Death

      Title 18, United States Co de, Section 2339A(a)

      *Max.Term of Imprisonment: Life Imprisonment
      * Mandatory Min. Term oflmprisonment (if applicable): NIA
      * Max. Supervised Release: Life
      * Max. Fine: $250,000

      C ount#: 2

      Providing Material Support or Resources t o Carry o ut a Vi olation of Section 956, Resulting in
      Death

      Title 18, United St ates Co de, Section 2339A(a)

      * Max. Term of Imprisonment: Life Imprisonment
      * Mandatory Min. Term of Imprisonment (if applicable): NIA
      * Max. Supervised Release: Life
      * Max. Fine: $250,000

      Count#: 3

      Co nspiracy t o Kill or Kidnap a perso n outside the United St ates

      Title 18, United States Co de, Sectio n 956(a)(l)

      * Max. Term of Imprisonment: Life Imprisonment
      * Mandatory Min. Term of Imprisonment (if applicable): NIA
      * Max. Supervised Release: Life
      * Max. Fine: $250,000




        *Refe1·s only to possible term of incarceration, supervised release and fines. It does not include
              restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 552 Entered on FLSD Docket 02/14/2024 Page 21 of 29




      Defendant's Name: ......:An=t=o=m=·o"--I=n=tr=ia=g=o;c.._____________________

      Case No:    22-20104-CR-JEM(s)(s)(s)(s)(s)

      Counts#: 4 and 6

      Conspiracy to Commit Offenses Against the United States

      Title 18 United States Code Section 371

      *Max.Term oflmprisonment: 5 Years
      * Mandatory Min. Term of Imprisonment (if applicable): N/A
      * Max. Supervised Release: 3 Years
      * Max. Fine: $250,000

      Count#:5

      Expedition Against Fliendly Nation

      Title 18 United States Code Section 960

      * Max. Term of Imprisonment: 3 Years
      * Mandatory Min. Term of Imprisonment (if applicable): N/A
      * Max. Supervised Release: 1 Year
      * Max. Fine: $250,000

      Count#: 7

     Export of Goods in Violation of the Export Control Reform Act

      Title 50 United States Code Section 4819

      *Max.Term of Imprisonment: 20 Years
      * Mandatory Min. Term of Imprisonment (if applicable): NIA
      * Max. Supervised Release: 3 Years
      * Max. Fine: $250,000

      Count#: 8

      Smuggling Goods from the United States

      Title 18 United States Code Section 554

      * Max. Term of Imprisonment: 10 Years
      * Mandatory Min. Term of Imprisonment (if applicable): NIA
      * Max. Supervised Release: 3 Years
      * Max. Fine: $250,000
        *Refers only to possible term of incarceration, supervised release and fines. It does not include
             restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 552 Entered on FLSD Docket 02/14/2024 Page 22 of 29




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      Defendant's Name: _,An�e:.::                                                 _________

      Case No:     22-20104-CR-JEM(s)(s)(s)(s)(s)

      Count#: 9

      Submitting False or Misleading Expo1t Infmmation

      Title 13 United States Code Section 305

      *Max.Term oflmprisonment: 5 Years
      * Mandatory Min. Term of Imprisonment (if applicable): N/A
      * Max. Supervised Release: 3 Years
      * Max. Fine: $250,000




        *Refers only to possible term of incarceration, supervised release and fines. It does not include
              restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 552 Entered on FLSD Docket 02/14/2024 Page 23 of 29




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                                                                                            i
                                                                                                            i


                                              PENALTY SHEET

      Defendant's Name: ����=-'==�-------------------
                        Walter Veintemilla

      Case No:    22-20104-CR-JEM(s)(s)(s)(s)(s)

      Count#: 1

      Conspiracy to Provide Material Supp01t or Resources to Cany out a Violation of Section 956,
      Resulting in Death

      Title 18 United States Code Section 2339A

      * Max. Term oflmprisonment: Life Imprisonment
      * Mandatory Min. Term of Imprisonment (if applicable): NIA
      * Max. Supervised Release: Life
      * Max. Fine: $250,000
      Count#: 2

      Providing Material Support or Resources to Carry out a Violation of Section 956, Resulting in
      Death

      Title 18, United States Code, Section 2339A(a)

       * Max. Term oflmprisonment: Life Imprisonment
       * Mandatory Min. Term of Imprisonment (if applicable): NIA
       * Max. Supervised Release: Life
     . * Max. Fine: $250,000

      Count#: 3

      Conspiracy to Kill or Kidnap a person· outside the United States

      Title 18, United States Code, Section 956(a)(l)

      * Max. Term oflmprisonment: Life Imprisonment
      * Mandatory Min. Term of Imprisonment (if applicable): NIA
      * Max. Supervised Release: Life
      * Max. Fine: $250,000




        *Refers only to possible term of incarceration, supervised release and fines. It does not include
              restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 552 Entered on FLSD Docket 02/14/2024 Page 24 of 29




     Defendant's Name: ---'-'-===---'-'====--
                         Walter Veintemilla                 ---------                            ---
      Case No:    22-20104-CR-JEM(s)(s)(s)(s)(s)

      Count#: 4

      Conspiracy to Commit Offenses Against the United States

      Title 18 United States Code Section 371

      *Max.Term of Imprisonment: 5 Years
      * Mandatory Min. Term of Imprisonment (if applicable): NIA
      *Max. Supervised Release: 3 years
      * Max. Fine: $250,000

      Count#: 5

     Expedition Against Friendly Nation

      Title 18 United States Code Section 960

      *Max. Term oflmprisonment: 3 Years
      *Mandatory Min. Term of Imprisonment (if applicable): N/A
      *Max.Supervised Release: 1 Year
      *Max. Fine: $250,000




        *Refers only to possible term of incarceration, supervised release and fines. It does not include
             restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 552 Entered on FLSD Docket 02/14/2024 Page 25 of 29




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                              PENALTY SHEET

      Defendant's Name: Christian Emmanuel Sanon

      Case No:    22-20104-CR-JEM(s)(s)(s) s s
                                                                                                            '
      Count#: 1                                                                                             I
      Conspiracy to Provide Material Support or Resources to Carry out a Violation of Section 956,
      Resulting in Death

      Title 18, United States Code, Section 2339A(a)

      * Max. Term oflmprisonment: Life Imprisonment
      * Mandatory Min. Term oflmprisonment (if applicable): N/A
      * Max. Supervised Release: Life
      * Max. Fine: $250,000

      Count#: 2

      Providing Material Support or Resources to Carry out a Violation of Section 956, Resulting in
      Death

      Title 18, United States Code, Section 2339A(a)

      *Max.Term of Imprisonment: Life Imprisonment
      *Mandatory Min. Term of Imprisonment (if applicable): N/A
      * Max. Supervised Release: Life
      * Max. Fine: $250,000

      Count#: 3

      Conspiracy to Kill or Kidnap a person outside the United States

      Title 18, United States Code, Section 956(a)(l)

      *Max.Term of Imprisonment: Life Imprisonment
      * Mandatory Min. Term of Imprisonment (if applicable): N/A
      * Max. Supervised Release: Life
      * Max. Fine: $250,000




        *Refers only to possible term of incarceration, supervised release and fines. It does not include
             restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 552 Entered on FLSD Docket 02/14/2024 Page 26 of 29




     Defendant's Name: Christian Emmanuel Sanon

     Case No:    22-20104-CR-JEM(s)(s)(s)(s)(s)

     Counts#: 4 and 6

     Conspiracy to Commit Offenses Against the United States

     Title 18 United States Code Section 371

      *Max.Term of Imprisonment: 5 Years
      * Mandatory Min. Term of Imprisonment (if applicable): N/A
      * Max. Supervised Release: 3 Years
      * Max. Fine: $250,000

     Count#: 5

     Expedition Against Friendly Nation

     Title 18 United States Code Section 960

     * Max. Term of Imprisonment: 3 Years
     * Mandatory Min. Term of Imprisonment (if applicable): N/A
     *Max. Supervised Release: 1 Year
     * Max. Fine: $250,000
     Count#: 8

     Smuggling Goods from the United States

     Title 18 United States Code Section 554

      *Max.Term of Imprisonment: 10 Years
      * Mandatory Min. Term of Imprisonment (if applicable):           N/A
      * Max. Supervised Release: 3 Years
      *Max. Fine: $250,000




       *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitl!,tion, special assessments, parole terms, or forfeitures that may be applicable.
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     Defendant's Name: Christian Emmanuel Sanon

     Case No:    22-20104-CR-JEM(s)(s)(s)(s)(s)

     Count#: 9

     Submitting False or Misleading Export Information

     Title 13, United States Code, Section 305

     *Max.Term of Imprisonment: 5 Years
     * Mandatory Min. Term of Imprisonment (if applicable): N/A
     * Max. Supervised Release: 3 Years
     * Max. Fine: $250,000




       *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 552 Entered on FLSD Docket 02/14/2024 Page 28 of 29




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            PENALTY SHEET

     Defendant's Name: J a=m=e=s�S�o=la=g=e�s_____________________

     Case No:    22-20104-CR-JEM(s)(s)(s)(s)(s)

     Count#: 1

     Conspiracy to Provide Material Support or Resources to Cmw out a Violation of Section 956,
     Resulting in Death

     Title 18, United States Code, Section 2339A(a)

     * Max.Term oflmprisonment: Life Imprisonment
     * Mandatory Min. Term of Imprisonment (if applicable): NIA
     * Max.Supervised Release: Life
     *Max. Fine: $250,000

     Count#: 2

     Providing Material Supp011 or Resources to Cany out a Violation of Section 956, Resulting in
     Death

     Title 18, United States Code, Section2339A(a)

     *Max.Term of Imp1isonment: Life Imprisonment
     * Mandatory Min. Term of Imprisonment (if applicable):             N/ A
     * Max. Supervised Release: Life
     * Max. Fine: $250,000

     Count#: 3

     Conspiracy to Kill or Kidnap a person outside the United States

     Title 18, United States Code, Section 956(a){l)

     * Max.Term of lmpiisonment: Life Imprisonment
     * Mandatory Min. Term of Imprisonment (if applicable): N/A
     *Max.Supervised Release: Life
     * Max. Fine: $250,000




       *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfeitures that may be applicable.
Case 1:22-cr-20104-JEM Document 552 Entered on FLSD Docket 02/14/2024 Page 29 of 29




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     Defendant's Name: _J�am

     Case No:     22-20104-CR-JEM(s)(s)(s)(s)(s)

     Count#: 4

     Conspira cy to Commit Offenses Agains t the United States

     Title 18 United State s C o de Sectio n 371

     *Max.Term of Imprisonment: 5 Years
     * Mandatory Min. Term of Imprisonment (if applicable): N/A
     * Max. Supervised Release: 3 Years
     * Max. Fine: $250,000

     Co unt#: 5

     Expeditio n Against Friendly Nation

     Title 18 United St ates Code Section 960

     *Max.Term of Imprisonment: 3 Years
     * Mandatory Min. Term of Imprisonment (if applicable): N/A
     * Max. Supervised Release: 1 Year
     *Max. Fine: $250,000




       *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfeitures that may be applicable.
